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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF PENNSYLVANIA


    CAPITOL SPECIALTY INSURANCE
    CORPORATION
         Plaintiff,
                 v.
                                                                     Civil Action No.:
    FELLERMAN & CIARIMBOLI LAW, PC,
          and,
    MICHAEL J. O’NEILL,
         Defendants.


                           COMPLAINT FOR DECLARATORY JUDGMENT

           Plaintiff Capitol Specialty Insurance Corporation (“CSIC”), through its undersigned

counsel, files this Complaint seeking a judicial declaration that Defendants Fellerman &

Ciarimboli Law, PC (“Fellerman” or the “Insured”)1 and Michael J. O’Neill (collectively, the

“Defendants”) are not entitled to coverage in pending litigation against the Defendants under a

certain insurance policy issued to Fellerman and seeking reimbursement for fees and expenses

incurred in providing Defendants with a defense against such litigation, and allege as follows:

                                                 INTRODUCTION

           1.       CSIC issued Lawyers Professional Liability Policy No. LW20191021-03 to

Fellerman for the claims-made Policy Period of March 26, 2021 to March 26, 2022 (the “Policy”).

A true and correct copy of the Policy is attached hereto as Exhibit A.

           2.       On or about November 19, 2021, Joseph L. Messa, Jr. & Associates, P.C., d/b/a

Messa & Associates, P.C. (“Messa”) initiated a civil action against Fellerman and Fellerman’s

individual partner, Michael J. O’Neill, for allegedly improperly soliciting Messa’s clients,

Fellerman’s alleged failure to compensate Messa and breach of contract, styled Joseph L. Messa,


1   Excluding headings, any terms in bold are defined in the attached Policy, which is incorporated herein by reference.
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Jr. & Associates, P.C., v. Michael J. O’Neill, et al., Case ID: 211101669 (Pa. Ct. Common Pleas,

Philadelphia County) (the “Messa Lawsuit”). A true and correct copy of the complaint in the

Messa Lawsuit is attached hereto as Exhibit B.

       3.        Fellerman sought coverage for the Messa Lawsuit under the Policy and, on

February 16, 2022, CSIC agreed to provide Fellerman and O’Neill with a defense under an express

reservation of rights, including the right to bring an action to establish that the Policy does not

provide coverage for the Messa Lawsuit. A true and correct copy of the February 16, 2022

coverage correspondence is attached hereto as Exhibit C.

       4.        Coverage under the Policy is available only for Claims resulting from Wrongful

Acts committed in the rendering or failure to render Legal Services. Ex. A, Policy, Section I.A.;

Section VII.P.

       5.        The Messa Lawsuit does not allege a Wrongful Act committed in the rendering or

failure to render Legal Services.

       6.        Further, coverage is available under the Policy only for Claims first made during

the Policy Period. Ex. A, Policy, Section I.A.

       7.        On information and belief, Messa had asserted a Claim against Defendants prior to

the March 26, 2021 inception date of the Policy. See, e.g., Messa’s Petition to Intervene. A true

and correct copy of the petition to intervene is attached hereto as Exhibit D.

       8.        Alternatively, the Messa Lawsuit seeks to recover amounts that are not covered

Damages within the meaning of the Policy.

       9.        The Policy contains an express provision stating that the insurer shall have the right

to be reimbursed in full for all defense costs and expenses incurred in the provision of a defense
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to the Insureds in the event that it is later determined that the Policy does not provide coverage.

Ex. A, Policy at Endorsement No. 3 “Advancement and Reimbursement of Defense Expenses.”

        10.      CSIC thus brings this action pursuant to the Federal Declaratory Judgment Act, 28

U.S.C. § 2201, and Federal Rule of Civil Procedure 57, seeking a judicial determination that the

Policy does not provide coverage to the Defendants for the Messa Lawsuit and that CSIC is entitled

to reimbursement of all amounts paid in connection with the defense of the Defendants against

that suit.

                                              PARTIES

        11.      Capitol Specialty Insurance Corporation is an insurance company organized under

the laws of the state of Wisconsin and its principal place of business is in Connecticut.

        12.      Defendant Fellerman is a Pennsylvania professional corporation that, upon

information and belief, has its principal place of business at 436 Spruce Street, Suite 100, Scranton,

Pennsylvania.

        13.      Defendant O’Neill is a natural person who, upon information and belief, resides

and/or works in Philadelphia County, Pennsylvania.

                                  JURISDICTION AND VENUE

        14.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(1).

There is complete diversity of citizenship between Plaintiff and all Defendants and there is an

actual controversy between the parties that exceeds $75,000, exclusive of interest and costs.

        15.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2). Upon

information and belief, Defendants reside in this District and a substantial part of the events giving

rise to the claims at issue occurred in this District.
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                                  STATEMENT OF FACTS

I.     Nature of the Underlying Action

       16.     On or about November 19, 2021, Messa commenced a civil action against

Fellerman and O’Neill, alleging that Defendants improperly solicited Messa’s clients, improperly

withheld money and breached a contract. Ex. B., Compl.

       17.     According to the Complaint, O’Neill worked for Messa as an attorney from

approximately April 2019 until, in February 2020, O’Neill announced he was leaving to begin

working at Fellerman. Ex. B, Compl. at ¶¶ 10, 33.

       18.     On or about March 11, 2019, Messa was retained to represent Kyriaki Bouziotas in

a wrongful death action (the “Bouziotas Action”). Messa and Ms. Bouziotas allegedly signed a

contingency agreement. Ex. B, Compl. at ¶¶ 27-29.

       19.     On or about May 9, 2019, Messa was retained to represent Kirbey Mena Meronne

in a wrongful death action (the “Meronne Action”). Messa and Ms. Meronne allegedly signed a

contingency agreement. Ex. B, Compl. at ¶¶ 16-18.

       20.     As alleged by Messa, O’Neill was not involved in Ms. Meronne’s or Ms. Bouziotas’

retention of Messa. Ex. B, Compl. at ¶¶ 20, 31.

       21.     Messa alleges that upon announcing his departure from the firm, O’Neill

represented that he would not solicit any of Messa’s clients, and that neither he nor Fellerman had

any interest in any case for which O’Neill had provided legal services while at Messa. Ex. B,

Compl. at ¶¶ 36-37.

       22.     However, Messa alleges that O’Neill solicited its clients to move their

representation to Fellerman both before and after representing that he would refrain from doing

so. Ex. B, Compl. ¶¶ 44-45
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        23.    In particular, Messa alleges that O’Neill convinced Ms. Bouziotas and Ms.

Meronne to discharge Messa as their counsel and to retain Fellerman. Ex. B, Compl. at ¶¶ 44-45.

        24.    On or about June 5, 2020, after withdrawing as Ms. Meronne’s counsel, Messa

allegedly notified the Meronne Action’s defendants of its financial interests in the outcome of the

Meronne Action and demanded to be added as a payee for settlement purposes. Ex. B, Compl. at

¶ 52.

        25.    Similarly, on or about June 5, 2020 Messa allegedly notified the insurance carrier

for the Meronne Action’s defendants of its financial interests in the outcome of the Meronne

Action and demanded to be added as a payee on any settlement payments. Ex. D, Petition to

Intervene at ¶ 34.

        26.    Messa alleges that Fellerman refused to provide status updates on the Meronne

Action, even in response to a specific request on December 19, 2020. Ex. B, Compl. at ¶¶ 53-56.

        27.    On or about February 1, 2021, Messa filed a petition to intervene in the Meronne

Action. In its petition to intervene, Messa alleged that O’Neill and Fellerman had improperly

solicited its clients, and Messa asserted a lien against the proceeds of any judgment or settlement.

Ex. B, Compl. at ¶ 56; Ex. D, Petition to Intervene.

        28.    On or before February 16, 2021, Fellerman and O’Neill retained counsel to

represent them in connection with Messa’s allegations.

        29.    In response to Messa’s petition to intervene, Fellerman and Messa negotiated a

confidential agreement (the “Agreement”) which addressed Messa’s right to attorneys’ fees and

costs payable from any recovery in the Meronne and Bouziotas Actions.              Pursuant to the

Agreement, Fellerman allegedly agreed to notify Messa of any settlement or verdict within two

calendar days. Ex. B, Compl. at ¶¶ 58-59.
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         30.   On or about October 28, 2021, Fellerman provided Messa with notice that the

Meronne Action had settled. Ex. B, Compl. at ¶ 60.

         31.   Fellerman provided Messa with the settlement amount. Messa alleges, however,

that this amount failed to disclose additional monies being paid as part of the settlement. Ex. B,

Compl. at ¶¶ 61-64.

         32.   On or about October 28, 2021, Fellerman filed an action captioned Fellerman &

Ciarimboli Law, P.C. v. Joseph L. Messa, Jr. & Associates, P.C. d/b/a Messa & Associates, No.

21-4654, Lackawanna County Court of Common Pleas (the “Fellerman Lawsuit”) seeking a

judicial determination concerning Messa’s rights in connection with the resolution of the Meronne

Action. A true and correct copy of the complaint in the Fellerman Lawsuit is attached hereto as

Exhibit E.

         33.   On or about November 19, 2021, Messa filed the Messa Lawsuit stating causes of

action for 1) breach of fiduciary duty, 2) tortious interference with contractual relationships, 3)

breach of contract, and 4) unjust enrichment/quantum meruit against the Defendants. Ex. B,

Compl.

         34.   On or about November 22, 2021, Messa filed an answer to the complaint with new

matter in the Fellerman Lawsuit, making virtually identical allegations as those set forth in the

Messa Lawsuit. A true and correct copy of the answer to the complaint with new matter in the

Fellerman Lawsuit is attached hereto as Exhibit F.

II.      The Policy

         35.   CSIC issued the Policy to the Named Insured, Fellerman & Ciarimboli Law, PC,

for the March 26, 2021 to March 26, 2022 Policy Period. Ex. A, Policy Declarations Items 1 and

2.
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       36.    Subject to the Policy’s terms and conditions, the each Claim Limit of Liability is

$2,000,000, and the aggregate Limit of Liability for all Claims is $4,000,000. Ex. A, Policy,

Declarations Item 4.

       37.    Claim Expenses reduce the Limit of Liability. Ex. A, Policy, Section V.A.4.

       38.    Claim Expenses are defined in the Policy to mean:

              [T]he following expenses incurred in the investigation, adjustment, negotiation,
              arbitration, mediation, and defense of Claims:

              1.       expenses We incur, other than salary, wages or expense of Our regular
                       employees;

              2.       reasonable and necessary fees charged by attorneys selected or pre-
                       approved by Us to defend an Insured; and

              3.       reasonable and necessary expenses incurred by an Insured at Our request.

              Claim Expenses do not include:

              1.       loss of earnings or profit by an Insured; or

              2.       salaries, wages, fees, or other compensation payable to an Insured.

Ex. A, Policy, Section VII.D.

       39.    The retention for each and every Claim that potentially implicates coverage is

$15,000. Ex. A, Policy, Declarations Item 5.

       40.    Subject to its terms, conditions and exclusions, the Policy provides:

              We will pay on an Insured’s behalf, those Damages and Claim Expenses in
              excess of the Retention and up to the applicable Limit of Liability specified in the
              Declarations that an Insured becomes legally obligated to pay because of a Claim
              which results from a Wrongful Act and which is first made against the Insured
              during the Policy Period or any applicable Extended Reporting Period and which
              is reported to Us in accordance with Part VI.A.1. of the Policy.

              It is a condition precedent to coverage under this Policy that any Wrongful Act
              upon which a Claim is based occurred:

              1.       during the Policy Period; or
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               2.     on or after the Retroactive Date and prior to the Policy Period, provided
                      that all of the following three conditions are met:

                      a.      the Insured did not notify any prior insurer of such Wrongful Act
                              or related Wrongful Act;

                      b.      prior to the inception date of the first policy issued by Us if
                              continuously renewed, no Insured had any basis (1) to believe that
                              any Insured had breached a professional duty; or (2) to foresee that
                              any fact, circumstance, situation, transaction, event or Wrongful
                              Act might reasonably be expected to be the basis of a Claim against
                              any Insured; and

                      c.      there is no other policy that provides insurance to the Insured for
                              such Wrongful Act or Claim.

Ex. A, Policy, Section I.A.

       41.     The Policy’s “WHO IS AN INSURED” section provides that the following are

Insureds under the Policy:

               A.    The Named insured is the person(s) or entity(ies) designated in the
               Declarations . . .

                                            *       *       *

               C. Any individual . . . who is or becomes a partner, officer, director, stockholder,
               shareholder, independent contract attorney or employee of a Named Insured, but
               only with respect to the performance of his or her duties as such on behalf of a
               Named Insured.

Ex. A, Policy, Section IV.A, C.

       42.     Damages is defined in the Policy to mean:

               1.     amounts which an Insured is legally obligated to pay as a result of a
                      covered judgment, award or settlement;

               2.     costs assessed against an Insured in any suit or proceeding defended by Us
                      unless such costs are assessed as a sanction for an Insured’s delay or
                      misconduct in the litigation process;

               3.     pre-judgment interest and post-judgment interest assessed before We have
                      paid, offered to pay or deposited in court the part of the judgment that is
                      covered by this Policy and that is within the applicable Limit of Liability;

               Damages do not include:
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                 1.     taxes, criminal or civil fines or penalties imposed by law;

                 2.     legal fees, costs and expenses paid to or incurred or charged by any Insured
                        no matter whether claimed as restitution of specific funds, forfeiture,
                        financial loss, set-off or otherwise, and injuries that are a consequence of
                        any of the foregoing;

                 3.     any amount for which an Insured is absolved from payment by reason of
                        any covenant, agreement or court order;

                 4.     any amount based upon or in consequence of an Insured’s conversion,
                        misappropriation, embezzlement, commingling, defalcation or ethically
                        improper use or disposal of funds or other property, whether held on behalf
                        of clients or any third party; or

                 5.     punitive, exemplary or the multiplied portion of multiple Damages.

Ex. A, Policy, Section VII.F.

       43.       Claim is defined in the Policy, in relevant part, to mean:

                 1.     any written notice or written demand for monetary relief or Legal Services;

                                           *      *       *

                 2.     any civil proceeding in a court of law; [or]

                 3.     any notice of any suit

                 which seeks Damages against an Insured for a Wrongful Act. . . .

                 Subject to Part VI. CONDITION A. 2 as applicable, a Claim will be deemed to
                 have been first made when an Insured first received written notice of the Claim.”

Ex. A, Policy, Section VII.C.

       44.       Wrongful Act is defined in the Policy to mean “any actual or alleged act, error, or

omission committed by an Insured solely in the rendering or failure to render Legal Services.”

Ex. A, Policy, Section VII.P.

       45.       Legal Services is defined in the Policy, in relevant part, to mean “services as a

lawyer, mediator, or title agent” when “performed by an Insured for others.” Ex. A, Policy,

Section VII.H.
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       46.     The Policy provides CSIC with a right to reimbursement for defense costs and

expenses if “it is later determined that the claim or suit, or the defense costs and expenses . . . are

not covered under this insurance policy.” Ex. A, Policy, Endorsement No. 3 “Advancement and

Reimbursement of Defense Expenses.”

III.   Coverage Position

       47.     CSIC agreed to provide Fellerman and O’Neill with a defense in connection with

the Messa Lawsuit subject to a full reservation of rights under the Policy by letter dated February

16, 2022. Ex. C, February 16, 2022 Letter.

       48.     In the February 16, 2022 correspondence, CSIC informed Fellerman and O’Neill

that it would allow their selected counsel, Cozen O’Connor, to continue representing the

Defendants at CSIC’s normal rates for this venue or, if Cozen O’Connor does not consent to

CSIC’s normal rates, Defendants could fund the difference of the rates at their own expense. If

neither of these options is acceptable, CSIC will exercise its right under the Policy to appoint

counsel. Ex. C, February 16, 2022 Letter. Under either option, CSIC will have paid fees and

expenses in connection with this defense by the time of the resolution of this matter.

                                             COUNT I

                                 DECLARATORY JUDGMENT

       49.     CSIC repeats and incorporates herein by reference paragraphs 1 through 48 of this

Complaint as if fully set forth herein.

       50.     An actual case or controversy exists between the parties concerning whether the

Policy provides coverage to the Defendants for the Messa Lawsuit.

       51.     The Policy only provides coverage for Wrongful Acts, which means any actual or

alleged act, error or omission committed by an Insured solely in the rendering or failure to render

Legal Services. Ex A, Policy, Section I.A.; Section VII.P.
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       52.     Legal Services includes services as a lawyer performed by an Insured for others.

Ex. A, Policy, Section VII.H.

       53.     The Defendants’ conduct at issue in the Messa Lawsuit concerns the alleged

improper solicitation of Messa’s clients, the alleged failure to share fees owed to Messa, and breach

of the Agreement, which is effectively a fee sharing agreement.

       54.     The Messa lawsuit, for which Defendants are seeking coverage, does not seek

Damages for a Wrongful Act, nor could it because it does not arise out of Legal Services

performed by Defendants for Messa (of which there were none) or others.

       55.     The Messa Lawsuit simply concerns a business dispute between two competing law

firms and an individual lawyer and does not concern any alleged acts or errors in connection with

the provision of any services for others requiring legal acumen in any way.

       56.     Because the Messa Lawsuit does not seek recovery for an alleged Wrongful Act

under the Policy, CSIC is entitled to a declaratory judgment that it has no duty to defend the

Defendants in connection with the Messa Lawsuit, that the Defendants are not entitled to coverage

under the Policy, and that CSIC is entitled to reimbursement for fees and expenses incurred in

providing Defendants with a defense against the Messa Lawsuit.

                                            COUNT II

                                 DECLARATORY JUDGMENT

       57.     CSIC repeats and incorporates herein by reference paragraphs 1 through 56 of this

Complaint as if fully set forth herein.

       58.     An actual case or controversy exists between the parties concerning whether the

Policy provides coverage for the claims made against the Defendants in the Messa Lawsuit.

       59.     The Policy only provides coverage for Claims first made during the Policy

Period – from March 26, 2021 through March 26, 2022. Ex A, Policy, Section I.A.
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         60.   The Policy defines Claim, in relevant part, as “any written notice or written demand

for monetary relief or Legal Services” or “any civil proceeding in a court of law” “which seeks

Damages against an Insured for a Wrongful Act.” Ex. A, Policy, Section VII.C.

         61.   If the Messa Lawsuit alleges a Wrongful Act, which CSIC disputes, then it was

not a Claim first made during the Policy Period.

         62.   Specifically, on June 5, 2020, Messa informed all defendants in the underlying

claim that it had a financial interest in the Meronne Action. Ex. B, Compl. at ¶ 52.

         63.   Also in June 2020, Messa informed defendants’ insurer that it had a financial

interest in the Meronne Action. Ex. D, Petition to Intervene at ¶ 34.

         64.   Messa’s February 1, 2021 petition to intervene in the Meronne Action contained

the same allegations as those in the Messa Lawsuit and requested that the court impose “a charging

lien in favor of [Messa] against the proceeds of any judgment or settlement in these proceeds and

against the respective interests of . . . Fellerman.” Ex. D, Petition to Intervene; see also Ex. B,

Compl.

         65.   The petition to intervene also stated:

               In an abundance of caution, [Messa] notes here that its petition and memorandum
               of law in support do not waive, release or otherwise prejudice any claim(s) that
               [Messa] and/or its principals, partners, or agents may have against Plaintiff, Mr.
               O’Neill and/or Fellerman …. All such claims are expressly preserved.

Ex. D, Petition to Intervene, fn 1.

         66.   Fellerman and O’Neill hired the law firm of Cozen O’Connor to represent them on

or before February 16, 2021.

         67.   Each of these events pre-date the March 26, 2021 to March 26, 2022 Policy Period.
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       68.       On information and belief there were other communications between Messa and

Fellerman (or their counsel), prior to March 26, 2021 that constitute a Claim within the meaning

of the Policy.

       69.       Accordingly, to the extent the Messa Lawsuit is a Claim, it is not covered under

the Policy because it was first made prior to the Policy Period.

       70.       Because the Messa Lawsuit is not a Claim first made during the Policy Period,

CSIC is entitled to a declaratory judgment that it has no duty to defend the Defendants in

connection with the Messa Lawsuit, that the Defendants are not entitled to coverage under the

Policy, and that it is entitled to reimbursement for fees and expenses incurred in providing

Defendants with a defense against the Messa Lawsuit.

                                           COUNT III

                                 DECLARATORY JUDGMENT

       71.       CSIC repeats and incorporates herein by reference paragraphs 1 through 70 of this

Complaint as if fully set forth herein.

       72.       An actual case or controversy exists between the parties concerning whether the

Policy provides coverage for the claims made against the Defendants in the Messa Lawsuit.

       73.       The Policy only provides coverage for Claims seeking covered Damages against

an Insured. Ex. A, Policy, Section I.A; Section VII.C.

       74.       The Policy’s definition of Damages does not include amounts that may be owed in

connection with fee sharing agreements. Ex. A, Policy, Section VII.F.

       75.       Further, the Policy’s definition of Damages expressly excludes punitive damages.

Ex. A, Policy, Section VII.F.

       76.       Amounts that may be owed by Defendants by way of restitution or disgorgement

of amounts improperly received or held are not covered under the Policy.
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       77.    The Messa Lawsuit seeks to recover amounts owed to Messa for its share of fees in

connection with the Meronne Action and the Bouziotas Action.

       78.    The Messa Lawsuit also seeks punitive damages.

       79.    The Policy does not provide coverage for amounts the Defendants may owe to

Messa for its share of fees in connection with any action, including the Meronne Action and the

Bouziotas Action, nor any punitive damages that may be awarded.

       80.    CSIC is entitled to a declaratory judgment that the Policy does not provide coverage

for such uncovered amounts including the Messa Lawsuit’s claims for recovery of fees owed in

connection with the Meronne Action or the Bouziotas Action, nor any punitive damages award.

                                   REQUEST FOR RELIEF

       WHEREFORE, CSIC respectfully requests that this Honorable Court:

       (a)    Issue a declaratory judgment that CSIC has no duty to defend Fellerman or O’Neill

              in the Messa Lawsuit because the Messa Lawsuit does not allege a Wrongful Act;

       (b)    Issue a declaratory judgment that CSIC has no duty to defend Fellerman or O’Neill

              in the Messa Lawsuit because the Messa Lawsuit is not a Claim first made during

              the Policy Period;

       (c)    Issue a declaratory judgment that the Policy does not provide coverage for the

              damages sought from Defendants in the Messa Lawsuit, including the contractual

              and other claims for fees in connection with the Meronne Action and the Bouziotas

              Action, and punitive damages.

       (d)    Issue a declaratory judgment that the Policy provides no coverage to Fellerman or

              O’Neill for the Messa Lawsuit;

       (e)    Award CSIC amounts paid in connection with its defense of Defendants against the

              Messa Lawsuit;
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      (f)    Award CSIC its costs incurred herein; and

      (g)    Award such further relief as this Honorable Court deems just and appropriate.



February 16, 2022                                 Respectfully submitted,




                                                  Kristin H. Jones (PA # 85725)
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